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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON
  DATA SERVICES, INC.,
               Plaintiffs,
        v.
  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CASEY
  KIRSCHNER; ALLCORE DEVELOPMENT               CASE NO. 1:20-CV-484-RDA-TCB
  LLC; FINBRIT HOLDINGS LLC;
  CHESHIRE VENTURES LLC; CARLETON
  NELSON; JOHN DOES 1-20,
               Defendants.

  800 HOYT LLC,
               Intervening Interpleader
               Plaintiff, Intervening
               Interpleader Counter-
               Defendant,
        v.
  BRIAN WATSON; WDC HOLDINGS, LLC;
  BW HOLDINGS, LLC,
               Interpleader Defendants,
        and
  AMAZON.COM, INC., and AMAZON
  DATA SERVICES, INC.,
            Interpleader Defendants,
            Interpleader Counter-Plaintiffs.


         PLAINTIFFS’ NOTICE OF COMPLIANCE WITH APRIL 8, 2022 ORDER
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           Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc. (“Plaintiffs” or “Amazon”)

   hereby provide notice that they are submitting a declaration by D. Matthew Doden (the “Doden

   Declaration”) in compliance with the Honorable Theresa C. Buchanan’s order at the April 8, 2022

   motions hearing in the above-captioned matter. The Doden Declaration references and is

   supported by select documents, which Plaintiffs are submitting as exhibits thereto. 1

           As the Doden Declaration demonstrates, document discovery and other developments in

   the case since January 2022 have revealed a wealth of new evidence about the individuals and

   entities named as new defendants in Plaintiffs’ Proposed Third Amended Complaint. Through

   that new evidence, Amazon has obtained substantial and specific details regarding the new

   proposed defendants’ knowledge, intent, and participation in the kickback scheme at issue in this

   litigation. See Doden Decl. ¶¶ 5–15. After carefully reviewing and analyzing all of this discovery

   material, Amazon concluded that the substantial and specific evidence it had obtained was

   sufficient to support allegations containing the particularity required to satisfy Federal Rule of

   Civil Procedure 9(b) as against the new proposed defendants. Amazon accordingly determined

   that it could add the new defendants named in the Proposed Third Amended Complaint in good

   faith, and timely moved for leave to do so. See Dkts. 608, 616.


   Dated: April 18, 2022                        Respectfully submitted,

                                                /s/ Michael R. Dziuban                 _
   Veronica S. Moyé (pro hac vice)              Elizabeth P. Papez (pro hac vice)
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   1
       Amazon has redacted all Personally Identifiable Information from the exhibits to the Doden
       Declaration.


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  Counsel for Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc.




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 18, 2022, I electronically filed the foregoing with the Clerk

  of Court using the CM/ECF system. I will then send the document and a notification of such filing

  (NEF) to the following parties via U.S. mail to their last-known address and by email, where noted:



                                                    Casey Kirschner
                                                    635 N. Alvarado Lane
                                                    Plymouth, MN 55447
                                                    By email: casey.kirschner@gmail.com

                                               s/ Michael R. Dziuban
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